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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                     8:15CR68

      vs.
                                                   DETENTION ORDER PENDING TRIAL
RYAN A. BENSCOTER,

                  Defendant.

 A.   Order For Detention
      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail
      Reform Act, the Court orders the above-named defendant detained pursuant to 18
      U.S.C. § 3142(e) and (I).

 B. Statement Of Reasons For The Detention
The Court orders the defendant’s detention because it finds:
      X       By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as
              required.
      X       By clear and convincing evidence that no condition or combination of
              conditions will reasonably assure the safety of any other person or the
              community.

 C. Finding Of Fact
The Court’s findings are based on the evidence which was presented in court and that which
     was contained in the Pretrial Services Report, and includes the following:
      X      (1)    Nature and circumstances of the offense charged:
              X      (a) The crime: Felon in Possession of a Firearm is a serious crime and
                          carries a maximum penalty of 10 years imprisonment.
                     (b) The offense is a crime of violence.
                     (c) The offense involves a narcotic drug.
                     (d) The offense involves a large amount of controlled substances, to
                          wit:

            (2)      The weight of the evidence against the defendant is high.
       X    (3)      The history and characteristics of the defendant including:
                      (a) General Factors:
                                   The defendant appears to have a mental condition which
                                   may affect whether the defendant will appear.
                                   The defendant has no family ties in the area.
                                   The defendant has no steady employment.
                                   The defendant has no substantial financial resources.
                                   The defendant is not a long time resident of the
                                   community.
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                                 The defendant does not have any significant community
                                 ties.
                                 Past conduct of the defendant:
                          X      The defendant has a history relating to drug abuse.
                                 The defendant has a history relating to alcohol abuse.
                          X      The defendant has a significant prior criminal record.
                          X      The defendant has a prior record of failure to appear at
                                 court proceedings.
                    (b) At the time of the current arrest, the defendant was on:
                                 Probation
                                 Parole
                                 Supervised Release
                                 Release pending trial, sentence, appeal or completion of
                                 sentence.
                    (c) Other Factors:
                                 The defendant is an illegal alien and is subject to
                                 deportation.
                                 The defendant is a legal alien and will be subject to
                                 deportation if convicted.
                                 The Bureau of Immigration and Customs Enforcement
                                 (BICE) has placed a detainer with the U.S. Marshal.
                                 Other:
       X    (4)    The nature and seriousness of the danger posed by the defendant’s
            release are as follows: Two prior felony convictions.

 D. Additional Directives
Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
            1. The defendant be committed to the custody of the Attorney General for
                confinement in a corrections facility separate, to the extent practicable from
                persons awaiting or serving sentences or being held in custody pending
                appeal; and
            2. The defendant be afforded reasonable opportunity for private consultation
                with counsel; and
            3. That, on order of a court of the United States, or on request of an attorney
                for the government, the person in charge of the corrections facility in which
                the defendant is confined deliver the defendant to a United States Marshal
                for the purpose of an appearance in connection with a court proceeding.


 DATED this 2nd day of March, 2015.

                                       BY THE COURT:

                                       s/ F.A. Gossett, III
                                       United States Magistrate Judge
